No. 1:10-bk-00303            Doc 672   Filed 03/23/17 Entered 03/23/17 10:51:48          Page 1 of
                                                 19
                                  UNITED STATES BANKRUPTCY   COURT
                                 NORTHERN DISTRICT OF WEST VIRGINIA
                                       CLARKSBURG DIVISION

  In re:                                            §   Case No. 2:10-BK-00303
                                                    §
  AUGUSTA APARTMENTS, LLC                           §
                                                    §
                                                    §
                      Debtor(s)                     §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Robert L. Johns, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $377,000.00               Assets Exempt:      NA
(without deducting any secured claims)



Total Distributions to                                  Claims Discharged
Claimants:                         $12,941,501.07       Without Payment:    NA

Total Expenses of
Administration:                    $3,304,323.53


       3)      Total gross receipts of $16,795,824.60 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $550,000.00 (see Exhibit 2), yielded net receipts of $16,245,824.60
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
No. 1:10-bk-00303            Doc 672   Filed 03/23/17 Entered 03/23/17 10:51:48 Page 2 of
                                     CLAIMS      19 CLAIMS        CLAIMS        CLAIMS
                                  SCHEDULED          ASSERTED           ALLOWED               PAID
  Secured Claims
  (from Exhibit 3)                          $0.00   $30,720,005.1       $30,694,954.2      $12,941,501.
                                                                8                   1               07
  Priority Claims:
     Chapter 7 Admin.
     Fees and Charges                          NA      $96,184.63          $96,184.63        $96,184.63
      (from Exhibit 4)
     Prior Chapter Admin.
     Fees and Charges                          NA   $3,208,138.90       $3,208,138.90      $3,208,138.9
     (from Exhibit 5)                                                                                 0
     Priority Unsecured
     Claims                                 $0.00     $405,495.75        $232,694.57               $0.00
     (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit 7)                   $0.00   $7,410,394.05       $7,410,394.05              $0.00

                                            $0.00   $41,840,218.5       $41,642,366.3      $16,245,824.
    Total Disbursements                                         1                   6               60

       4). This case was originally filed under chapter 11 on 02/19/2010. The case was
  converted to one under Chapter 7 on 07/21/2010. The case was pending for 80 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 03/07/2017                              By: /s/ Robert L. Johns
                                                        /Ro Trustee
                                                        bert
                                                        L.
                                                        Joh
                                                        ns

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)
No. 1:10-bk-00303            Doc 672       Filed 03/23/17 Entered 03/23/17 10:51:48                          Page 3 of
                                                     19 TO
                                                 EXHIBITS
                                                  FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                                         UNIFORM                          AMOUNT
                                                                             TRAN. CODE                       RECEIVED
49 Falling Run RoadMorgantown WV 26505(Apt building with                      1110-000                   $13,334,143.49
158 Residential units and Parking Garage)
Vacant Lots                                                                   1110-000                        $220,416.27
Insurance Partners                                                            1121-000                             $76.00
Security Deposits with utilities and vendors (gathering data as to            1121-000                        $102,022.49
amounts)
West Virginia University                                                      1122-000                        ($55,464.68)
Apartment Furniture                                                           1129-000                         $88,166.50
Chapter 11 Operating Revenue                                                  1129-000                       $3,039,282.39
Desks, Chairs, Phones, Computers, Printers, Fax, Copier,                      1129-000                            $661.25
Supplies
First United Bank Checking Account                                            1129-000                         $13,331.01
Snow blower, Treadmills, Vending Games, TVs                                   1129-000                          $6,612.49
AP# 12-00013 Griesbaum(check on proof of claim for $1500.                     1249-000                          $2,000.00
should be with drawn)
Disallowed Attorney Fees Robert O Lampl                                       1249-000                         $17,325.00
City National Bank                                                            1270-000                            $226.94
Interest Earned                                                               1270-000                          $7,273.53
Augusta                                                                       1290-000                         $19,681.92
Jack D. Marko-K&D Mini Storage                                                1290-000                             $70.00
TOTAL GROSS RECEIPTS                                                                                     $16,795,824.60

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                  PAYEE                                DESCRIPTION                        UNIFOR               AMOUNT
                                                                                             M                    PAID
                                                                                           TRAN.
                                                                                           CODE
Fountain Residential Partners, LLC       Funds to Third Parties                           8500-002            $550,000.00
TOTAL FUNDS PAID TO                                                                                            $550,000.0
DEBTOR AND THIRD PARTIES                                                                                                0


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM            CLAIMANT          UNIFORM                CLAIMS                CLAIMS   CLAIMS                CLAIMS
NUMBER                             TRAN. CODE           SCHEDULED              ASSERTED ALLOWED                   PAID
     5        Laurita                 4110-000                       $0.00     $383,284.27   $383,284.27            $0.00
              Excavating, Inc.
     10       WV Dept of Tax          4110-000                       $0.00       $1,293.97           $0.00          $0.00

UST Form 101-7-TDR (10/1/2010)
No. 1:10-bk-00303             Doc 672      Filed 03/23/17    Entered 03/23/17 10:51:48               Page 4 of
               & Revenue                             19
     11        Wesbanco Bank,          4110-000              $0.00      $20,000.00           $0.00          $0.00
               Inc.
     13        PNC Bank,               4110-000              $0.00 $7,891,768.98 $7,891,768.9         $172,494.73
               National                                                                     8
               Association,
     17        First United Bank       4110-000              $0.00 $1,480,497.08 $1,480,497.0               $0.00
               & Trust                                                                      8
     18        First United Bank       4110-000              $0.00 $3,379,782.98 $3,379,782.9               $0.00
               & Trust                                                                      8
     19        First United Bank       4110-000              $0.00 $1,430,973.94 $1,430,973.9               $0.00
               & Trust                                                                      4
     20        First United Bank       4110-000              $0.00 $1,074,623.80 $1,074,623.8               $0.00
               & Trust                                                                      0
     21        First United Bank       4110-000              $0.00    $285,016.82      $285,016.82          $0.00
               & Trust
     24        Landau Building         4110-000              $0.00 $2,000,000.00 $2,000,000.0               $0.00
               Company                                                                      0
     54        CTL Engineering         4110-000              $0.00       $3,757.00           $0.00          $0.00
               of WV, inc
               First United Bank       4110-000              $0.00    $200,000.00      $200,000.00    $200,000.00
               & Trust
               Monongalia              4800-070              $0.00    $115,037.40      $115,037.40    $115,037.40
               County Sheriff
               PNC Bank                4110-000              $0.00 $9,700,000.00 $9,700,000.0 $9,700,000.0
                                                                                            0            0
               PNC Secured             4110-000              $0.00 $2,753,968.94 $2,753,968.9 $2,753,968.9
               claim payment                                                                4            4
TOTAL SECURED CLAIMS                                         $0.00 $30,720,005.1 $30,694,954. $12,941,501.
                                                                               8          21           07


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE                UNIFORM                  CLAIMS   CLAIMS              CLAIMS                CLAIMS
                           TRAN. CODE             SCHEDULED ASSERTED            ALLOWED                   PAID
Robert L. Johns,                2100-000                    NA   $20,615.39          $20,615.39        $20,615.39
Trustee
Robert Johns, Trustee           2200-000                    NA       $200.00           $200.00           $200.00
Insurance Partners              2300-000                    NA       $989.37           $989.37           $989.37
Agency, INC
Martin Anyieni                  2410-000                    NA       $300.00           $300.00           $300.00
Pro-rated fire fees             2500-000                    NA    $1,323.99           $1,323.99         $1,323.99
7/1/11 to 8/16/11
Recording fees                  2500-000                    NA       $103.00           $103.00           $103.00
Pinnacle Bank                   2600-000                    NA    $1,715.42           $1,715.42         $1,715.42
U.S. Trustee                    2950-000                    NA    $3,900.00           $3,900.00         $3,900.00
K & D Mini Storage              2990-000                    NA    $1,470.00           $1,470.00         $1,470.00
K&D Mini Storage                2990-000                    NA    $1,470.00           $1,470.00         $1,470.00
UST Form 101-7-TDR (10/1/2010)
No. 1:10-bk-00303             Doc 672       Filed 03/23/17 Entered 03/23/17 10:51:48                 Page 5 of
Turner & Johns                3110-000                19 NA $56,834.50     $56,834.50                  $56,834.50
PLLC, Attorney for
Trustee
Turner & Johns                3120-000                   NA      $7,262.96            $7,262.96         $7,262.96
PLLC, Attorney for
Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                          NA     $96,184.63           $96,184.63        $96,184.63
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

          PAYEE                UNIFORM                CLAIMS   CLAIMS                  CLAIMS           CLAIMS
                              TRAN. CODE           SCHEDULED ASSERTED                ALLOWED              PAID
Chapter 11 Trustee               6101-000                  NA $416,250.00            $416,250.00     $416,250.00
fees, Trustee
Robert Johns, Trustee            6101-000                  NA       $83,955.50        $83,955.50      $83,955.50
Chapter 11 Trustee               6102-000                  NA $2,707,377. $2,707,377.44 $2,707,377.4
Expenses, Trustee                                                     44                           4
Monongalia County                6820-000                  NA         $555.96            $555.96         $555.96
Sheriff
TOTAL PRIOR CHAPTER ADMIN. FEES                            NA $3,208,138. $3,208,138.90 $3,208,138.9
AND CHARGES                                                           90                           0


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM            CLAIMS          CLAIMS   CLAIMS                 CLAIMS
NUMBER                              TRAN. CODE       SCHEDULED        ASSERTED ALLOWED                    PAID
     1        Rental Guide            5800-000              $0.00        $4,500.00       $4,500.00          $0.00
              Magazine
     2        Sheriff of              5800-000              $0.00      $220,777.79     $220,777.79          $0.00
              Monongalia
              County
     6        IRS                     5800-000              $0.00      $137,752.21           $0.00          $0.00
     7        City of                 5800-000              $0.00       $34,860.08           $0.00          $0.00
              Morgantown
    10A       WV Dept of Tax          5800-000              $0.00         $188.89            $0.00          $0.00
              & Revenue
     23       Linda Gaich             5800-000              $0.00         $300.00          $300.00          $0.00
     26       Andrew                  5800-000              $0.00         $300.00          $300.00          $0.00
              Garigliano
     28       Mark Feldmeier          5800-000              $0.00         $300.00          $300.00          $0.00
     31       Matthew T.              5800-000              $0.00         $300.00          $300.00          $0.00
              Horton
     32       Peter Gannett           5800-000              $0.00         $300.00          $300.00          $0.00
     33       Alexis Burt             5800-000              $0.00         $300.00          $300.00          $0.00
     34       WorkForce               5800-000              $0.00        $1,825.46       $1,825.46          $0.00
              WV/Legal Dept
     35       WorkForce               5800-000              $0.00        $1,791.32       $1,791.32          $0.00

UST Form 101-7-TDR (10/1/2010)
No. 1:10-bk-00303             Doc 672   Filed 03/23/17   Entered 03/23/17 10:51:48           Page 6 of
              WV/Legal Dept                       19
     38       Michael Dewitt        5800-000             $0.00      $300.00       $300.00          $0.00
     42       Patrick Mitchell      5800-000             $0.00      $300.00       $300.00          $0.00
     43       Morgan Wood           5800-000             $0.00      $300.00       $300.00          $0.00
     44       Johnna B. Dinan       5800-000             $0.00      $800.00       $800.00          $0.00
     47       Jorge Wright          5800-000             $0.00      $300.00       $300.00          $0.00
TOTAL PRIORITY UNSECURED CLAIMS                          $0.00   $405,495.75   $232,694.57         $0.00


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT           UNIFORM          CLAIMS         CLAIMS   CLAIMS              CLAIMS
NUMBER                            TRAN. CODE     SCHEDULED       ASSERTED ALLOWED                 PAID
     3        Otis Elevator         7100-000             $0.00    $38,897.53    $38,897.53         $0.00
              Company
     4        Morgantown            7100-000             $0.00      $254.00       $254.00          $0.00
              Septic Tank
              Service
    6A        IRS                   7100-000             $0.00    $55,184.17    $55,184.17         $0.00
    7A        City of               7100-000             $0.00    $11,168.01    $11,168.01         $0.00
              Morgantown
     8        Tucker                7100-000             $0.00    $94,020.50    $94,020.50         $0.00
              Arensberg, P.C.
     9        Bowles Rice           7100-000             $0.00     $4,732.28     $4,732.28         $0.00
              McDavid Graff &
              Love
    10B       WV Dept of Tax        7100-000             $0.00      $160.66       $160.66          $0.00
              & Revenue
    11A       Wesbanco Bank,        7100-000             $0.00    $18,716.07    $18,716.07         $0.00
              Inc.
     12       Allegheny Power       7100-000             $0.00    $24,969.12    $24,969.12         $0.00
     14       Spilman Thomas        7100-000             $0.00    $28,586.95    $28,586.95         $0.00
              & Battle, PLLC
     15       Proven                7100-000             $0.00    $98,313.63    $98,313.63         $0.00
              Performance Inc.
     16       First United Bank     7100-000             $0.00 $4,136,154.99 $4,136,154.9          $0.00
              & Trust                                                                   9
     22       Bowles Rice et al     7200-000             $0.00   $106,882.69   $106,882.69         $0.00
     25       Patrice               7200-000             $0.00      $300.00       $300.00          $0.00
              Napolitano
     27       David L. Stolfer      7200-000             $0.00      $300.00       $300.00          $0.00
     29       Sultan T. Attian      7200-000             $0.00      $300.00       $300.00          $0.00
     30       Rebecca Willis        7200-000             $0.00      $300.00       $300.00          $0.00
     36       Victoria              7200-000             $0.00      $300.00       $300.00          $0.00
              Matthews
     37       Eric and Dennis       7200-000             $0.00      $300.00       $300.00          $0.00
              Mantlick
     39       Dennis Mantlick       7200-000             $0.00      $300.00       $300.00          $0.00

UST Form 101-7-TDR (10/1/2010)
No. 1:10-bk-00303              Doc 672   Filed 03/23/17   Entered 03/23/17 10:51:48          Page 7 of
     40       David Mann             7200-000      19     $0.00      $400.00       $400.00         $0.00
     41       Logan Ackerman         7200-000             $0.00      $400.00       $400.00         $0.00
     45       Marwan Eltalib         7200-000             $0.00      $300.00       $300.00         $0.00
     46       Danielle               7200-000             $0.00      $300.00       $300.00         $0.00
              Blankenship
     48       Wajeeh                 7200-000             $0.00      $300.00       $300.00         $0.00
              Mohammed
              Saeed Aljanabi
     49       Muteb Aljasom          7200-000             $0.00      $600.00       $600.00         $0.00
     50       Mohammed Al            7200-000             $0.00      $300.00       $300.00         $0.00
              Saeed
     51       Rebecca Willis         7200-000             $0.00      $300.00       $300.00         $0.00
     52       Patrice                7200-000             $0.00      $600.00       $600.00         $0.00
              Napolitano
     53       Spilman Thomas         7200-000             $0.00    $28,586.95   $28,586.95         $0.00
              & Battle, PLLC
    54A       CTL Engineering        7200-000             $0.00         $0.50        $0.50         $0.00
              of WV, inc
     55       Old Republic           7200-000             $0.00 $2,758,166.00 $2,758,166.0         $0.00
              National Title                                                             0
              Insurance
              Company
TOTAL GENERAL UNSECURED CLAIMS                            $0.00 $7,410,394.05 $7,410,394.0         $0.00
                                                                                         5




UST Form 101-7-TDR (10/1/2010)
                                                                                   FORM 1
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    1              Exhibit 8
                                           No. 1:10-bk-00303    Doc 672 Filed ASSET
                                                                                 03/23/17
                                                                                      CASES
                                                                                            Entered 03/23/17                      10:51:48         Page 8 of
                                                                                           19
Case No.:                      10-00303-PMF                                                                                           Trustee Name:                               Robert L. Johns
Case Name:                     AUGUSTA APARTMENTS, LLC                                                                                Date Filed (f) or Converted (c):            07/21/2010 (c)
For the Period Ending:         3/7/2017                                                                                               §341(a) Meeting Date:                       03/24/2010
                                                                                                                                      Claims Bar Date:                            06/22/2010

                                  1                                2                        3                                 4                        5                                            6

                         Asset Description                       Petition/           Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                          (Scheduled and                       Unscheduled          (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                    Value                    Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)

 Ref. #
1       49 Falling Run Road                                     $29,000,000.00                               $0.00                                $13,334,143.49                                             FA
        Morgantown WV 26505
        (Apt building with 158 Residential units and
         Parking Garage)
2        Vacant Lots                                              $500,000.00                                $0.00                                   $220,416.27                                             FA
3        First United Bank Checking Account                        $18,000.00                        $13,331.01                                       $13,331.01                                             FA
4        PNC Bank Checking Account                                     $1,000.00                             $0.00                                           $0.00                                           FA
5        Security Deposits with utilities and vendors             $102,022.49                       $102,022.49                                      $102,022.49                                             FA
         (gathering data as to amounts)
6        Accounts Receivable Various Tenants                      $327,000.00                                $0.00                                           $0.00                                           FA
7        Employee Loans                                                   $0.00                              $0.00                                           $0.00                                           FA
         (6,587.18 owed-believed to be uncollectible)
8        Mobile Office/bus                                         $20,000.00                                $0.00                                           $0.00                                           FA
9        Desks, Chairs, Phones, Computers, Printers,                   $1,500.00                             $0.00                                         $661.25                                           FA
         Fax, Copier, Supplies
10       Snow blower, Treadmills, Vending Games, TVs               $15,000.00                                $0.00                                     $6,612.49                                             FA
11       Apartment Furniture                                      $200,000.00                                $0.00                                    $88,166.50                                             FA
12       AP# 12-00013 Griesbaum                          (u)           $3,500.00                      $2,000.00                                        $2,000.00                                             FA
         (check on proof of claim for $1500. should be
         with drawn)
13       Disallowed Attorney Fees Robert O Lampl         (u)       $17,325.00                        $17,325.00                                       $17,325.00                                             FA
14       Claim against Edward Kohout for retainer        (u)       $29,000.00                        $29,000.00                                              $0.00                                           FA
15       Chapter 11 Operating Revenue                    (u)              $0.00                   $3,039,282.39                                    $3,039,282.39                                             FA
INT      Interest Earned                                 (u)           Unknown                        Unknown                                          $7,273.53                                             FA


TOTALS (Excluding unknown value)                                                                                                                                                Gross Value of Remaining Assets
                                                                $30,234,347.49                   $3,202,960.89                                    $16,831,234.42                                        $0.00




      Major Activities affecting case closing:
                                                                                             FORM 1
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                   Page No:    2              Exhibit 8
                                        No. 1:10-bk-00303                 Doc 672 Filed ASSET
                                                                                           03/23/17
                                                                                                CASES
                                                                                                      Entered 03/23/17                               10:51:48              Page 9 of
                                                                                                              19
Case No.:                   10-00303-PMF                                                                                                                  Trustee Name:                                   Robert L. Johns
Case Name:                  AUGUSTA APARTMENTS, LLC                                                                                                       Date Filed (f) or Converted (c):                07/21/2010 (c)
For the Period Ending:      3/7/2017                                                                                                                      §341(a) Meeting Date:                           03/24/2010
                                                                                                                                                          Claims Bar Date:                                06/22/2010

                                1                                               2                             3                                  4                            5                                             6

                       Asset Description                                    Petition/                 Estimated Net Value                    Property                     Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                    Unscheduled                (Value Determined by                    Abandoned                    Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                 Value                          Trustee,                   OA =§ 554(a) abandon.               the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

     08/01/2016     Order entered granting abandonment.
                    TFR to be filed.
     07/12/2016     Trustee filed notice of abandonment of remaining assets.
     10/16/2013     Property #14 - Court entered Order requiring Debtor's counsel, Edwark Koholt to return $29,000 retainer to bankruptcy estate. Appeal pending.


                    Property #1,2,9,10,11 - liquidated when apartment building sold in Chapter 11 case.


                    Property #12 - Adversary Proceeding filed and settlement collected.


                    Prop # 13 - Court ordered Debtor's counsel to return retainer. Appealed to District Court. Appealed to Fourth Circuit. Awaiting decision on appeal.


                    All property of Debtor liquidated.


                    Pending payment by debtor’s counsel Edward Kohout in the amount of $23,000. Appeal by Kohout denied by Fourth Circuit. Trustee pursuing collection actions against Kohout.
                    5/13/16 - Trustee recorded abstract of judgment and abstract of execution against Kohout. Will close case and retain interest in judgment.


Initial Projected Date Of Final Report (TFR):                                              Current Projected Date Of Final Report (TFR):             08/31/2016                   /s/ ROBERT L. JOHNS
                                                                                                                                                                                  ROBERT L. JOHNS
                                                                                                                                                                         Page No: 1                   Exhibit 9
                                                                                                FORM 2
                                         No. 1:10-bk-00303         DocCASH
                                                                       672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                             Filed 03/23/17   Entered 03/23/17 10:51:48 Page 10 of
 Case No.                          10-00303-PMF                                                                Trustee Name:                                                    Robert L. Johns
                                                                                        19
 Case Name:                        AUGUSTA APARTMENTS, LLC                                                                              Bank Name:                              Virginia National Bank
Primary Taxpayer ID #:             **-***8039                                                                                           Checking Acct #:                        ******0303
Co-Debtor Taxpayer ID #:                                                                                                                Account Title:                          Checking
For Period Beginning:              2/19/2010                                                                                            Blanket bond (per case limit):          $3,000,000.00
For Period Ending:                 3/7/2017                                                                                             Separate bond (if applicable):

       1                2                                  3                                            4                                                     5                       6                       7

   Transaction       Check /                          Paid to/                Description of Transaction                                 Uniform            Deposit           Disbursement                 Balance
      Date            Ref. #                       Received From                                                                        Tran Code             $                    $


08/19/2011                     Sterling Bank                          Transfer Funds                                                     9999-000        $3,028,262.51                                     $3,028,262.51
08/23/2011           5001      Monongalia County Sheriff              2011 Real Estate taxes                                             6820-000                                          $555.96         $3,027,706.55
10/05/2011           5002      Estate of Augusta Apartments, LLC      Transfer of funds to City National Bank                            9999-000                                $2,750,000.00               $277,706.55
10/05/2011           5003      Estate of Augusta Apartments, LLC      Transfer of funds to City National Bank                            9999-000                                     $250,000.00             $27,706.55
12/06/2011           5004      U.S. Trustee                           Acct. #241-10-00303                                                2950-000                                         $3,900.00           $23,806.55
07/27/2012                     Augusta                                Transfer of funds from First United Bank operating                    *             $165,808.95                                        $189,615.50
                                                                      account to Chapter 7 bankruptcy account.
                      {15}                                             Chapter 11 Operating Revenues                   $3,039,282.39     1129-000                                                            $189,615.50
                                                                      Chapter 11 Trustee Expenses                    $(2,707,377.44)     6102-000                                                            $189,615.50
                                                                      Chapter 11 Trustee fees                           $(416,250.00)    6101-000                                                            $189,615.50
                                                                      PNC Secured claim payment                      $(2,753,968.94)     4110-000                                                            $189,615.50
                                                                                                                           $4,122.94     1270-000                                                            $189,615.50
                                                                      Transfer of funds from City National              $2,750,000.00    9999-000                                                            $189,615.50
                                                                      Transfer of funds from City National               $250,000.00     9999-000                                                            $189,615.50
                                                                      Account
07/27/2012                     Augusta                                Transfer of funds from First United Bank Escrow                    1290-000          $19,681.92                                        $209,297.42
                                                                      account to Chapter 7 Bankruptcy account
09/10/2012            (5)      Morgantown Utility Board               Return of deposits on Utilities                                    1121-000         $102,022.49                                        $311,319.91
09/26/2012                     Pinnacle National Bank                 Transfer Funds                                                     9999-000                                     $311,319.91                    $0.00




                                                                                                                                        SUBTOTALS        $3,315,775.87           $3,315,775.87
                                                                                                                                                                     Page No: 2              Exhibit 9
                                                                                              FORM 2
                                        No. 1:10-bk-00303         DocCASH
                                                                      672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                            Filed 03/23/17   Entered 03/23/17 10:51:48 Page 11 of
Case No.                          10-00303-PMF                                                                Trustee Name:                                                 Robert L. Johns
                                                                                       19
Case Name:                        AUGUSTA APARTMENTS, LLC                                                                           Bank Name:                              Virginia National Bank
Primary Taxpayer ID #:            **-***8039                                                                                        Checking Acct #:                        ******0303
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                          Checking
For Period Beginning:             2/19/2010                                                                                         Blanket bond (per case limit):          $3,000,000.00
For Period Ending:                3/7/2017                                                                                          Separate bond (if applicable):

      1                 2                                3                                           4                                                    5                       6                    7

  Transaction        Check /                         Paid to/                Description of Transaction                              Uniform           Deposit            Disbursement               Balance
     Date             Ref. #                      Received From                                                                     Tran Code            $                     $


                                                                                       TOTALS:                                                       $3,315,775.87           $3,315,775.87                     $0.00
                                                                                           Less: Bank transfers/CDs                                  $3,028,262.51           $3,311,319.91
                                                                                       Subtotal                                                        $287,513.36               $4,455.96
                                                                                           Less: Payments to debtors                                         $0.00                   $0.00
                                                                                       Net                                                             $287,513.36               $4,455.96



                     For the period of 2/19/2010 to 3/7/2017                                                     For the entire history of the account between 08/19/2011 to 3/7/2017

                     Total Compensable Receipts:                    $3,165,109.74                                Total Compensable Receipts:                               $3,165,109.74
                     Total Non-Compensable Receipts:                        $0.00                                Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                  $3,165,109.74                                Total Comp/Non Comp Receipts:                             $3,165,109.74
                     Total Internal/Transfer Receipts:              $6,028,262.51                                Total Internal/Transfer Receipts:                         $6,028,262.51


                     Total Compensable Disbursements:               $5,882,052.34                                Total Compensable Disbursements:                          $5,882,052.34
                     Total Non-Compensable Disbursements:                   $0.00                                Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:             $5,882,052.34                                Total Comp/Non Comp Disbursements:                        $5,882,052.34
                     Total Internal/Transfer Disbursements:         $3,311,319.91                                Total Internal/Transfer Disbursements:                    $3,311,319.91
                                                                                                                                                                                        Page No: 3                 Exhibit 9
                                                                                                        FORM 2
                                          No. 1:10-bk-00303               DocCASH
                                                                              672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                                    Filed 03/23/17   Entered 03/23/17 10:51:48 Page 12 of
 Case No.                          10-00303-PMF                                                                       Trustee Name:                                                            Robert L. Johns
                                                                                               19
 Case Name:                        AUGUSTA APARTMENTS, LLC                                                                                           Bank Name:                                Sterling Bank
Primary Taxpayer ID #:             **-***8039                                                                                                        Money Market Acct #:                      ******0303
Co-Debtor Taxpayer ID #:                                                                                                                             Account Title:
For Period Beginning:              2/19/2010                                                                                                         Blanket bond (per case limit):            $3,000,000.00
For Period Ending:                 3/7/2017                                                                                                          Separate bond (if applicable):

       1                2                                  3                                                    4                                                           5                        6                     7

   Transaction       Check /                          Paid to/                       Description of Transaction                                       Uniform            Deposit             Disbursement               Balance
      Date            Ref. #                       Received From                                                                                     Tran Code             $                      $


06/22/2011            (1)      WVU Research Corporation/The Huntington       Proceeds for sale of real estate                                         1110-000          $550,000.00                                       $550,000.00
                               National Bank
06/30/2011           (INT)     Sterling Bank                                 Interest Earned For June                                                 1270-000               $11.30                                       $550,011.30
07/20/2011            (1)      Fountain Residential Partners, LLC            Good Faith funds per sale of real estate                                 1110-000          $550,000.00                                     $1,100,011.30
07/21/2011                     Sterling Bank                                 Debit for Wire charges                                                   9999-000                                             $7.00        $1,100,004.30
07/22/2011           1001      Fountain Residential Partners, LLC            Return of good faith funds regarding sale of real estate.                8500-002                                       $550,000.00          $550,004.30
07/29/2011           (INT)     Sterling Bank                                 Interest Earned For July                                                 1270-000               $46.34                                       $550,050.64
08/11/2011                     Sterling Bank                                 Refund of Wire fees done on 07/21/2011                                   9999-000                  $7.00                                     $550,057.64
08/16/2011                     West Virginia Board of Governors for WVU      Sale proceeds apportioned between Assets 1, 2, 9, 10 and                    *         $12,550,000.00                                      $13,100,057.64
                                                                             11
                      {2}                                                    Asset #2 Sale proceeds from liquidation of         $220,416.27           1110-000                                                         $13,100,057.64
                                                                             properties
                      {9}                                                    Asset #9 Sale proceeds from liquidation of                  $661.25      1129-000                                                         $13,100,057.64
                                                                             properties
                      {10}                                                   Asset #10 Sale proceeds from liquidation                $6,612.49        1129-000                                                         $13,100,057.64
                                                                             of properties
                      {11}                                                   Asset #11 Sale proceeds from liquidation               $88,166.50        1129-000                                                         $13,100,057.64
                                                                             of properties
                      {1}                                                    Asset #1 Sale proceeds from liquidation of        $12,234,143.49         1110-000                                                         $13,100,057.64
                                                                             properties
08/16/2011           1002      Monongalia County Sheriff                     2011 Real Estate Taxes (through 8/16/11)                                 4800-070                                       $115,037.40       $12,985,020.24
08/16/2011           1003      First United Bank & Trust                     Agreed payment for liens on McCoy parcels                                4110-000                                       $200,000.00       $12,785,020.24
08/16/2011           1003      VOID: First United Bank & Trust               Void: First United Bank & Trust                                          4110-003                                   ($200,000.00)         $12,985,020.24
08/16/2011           1004      PNC Bank                                      Satisfaction of Deed of Trust liens                                      4110-000                                  $9,700,000.00           $3,285,020.24
08/16/2011           1004      VOID: PNC Bank                                Void: PNC Bank                                                           4110-003                                 ($9,700,000.00)         $12,985,020.24
08/16/2011           1005      West Virginia University                      Return of funds                                                             *                                            $56,891.67       $12,928,128.57
                                                                             Recording fees                                              $(103.00)    2500-000                                                         $12,928,128.57
                                                                             Pro-rated fire fees 7/1/11 to 8/16/11                  $(1,323.99)       2500-000                                                         $12,928,128.57
                                                                             Pro-ration of Rents                                  $(55,464.68)        1122-000                                                         $12,928,128.57
08/16/2011           1006      First United Bank & Trust                     Agreed payment for liens on McCoy parcels                                4110-000                                       $200,000.00       $12,728,128.57

                                                                                                                                                     SUBTOTALS        $13,650,064.64             $921,936.07
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                                                                                                  FORM 2
                                          No. 1:10-bk-00303         DocCASH
                                                                        672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                              Filed 03/23/17   Entered 03/23/17 10:51:48 Page 13 of
 Case No.                          10-00303-PMF                                                                 Trustee Name:                                                   Robert L. Johns
                                                                                         19
 Case Name:                        AUGUSTA APARTMENTS, LLC                                                                             Bank Name:                               Sterling Bank
Primary Taxpayer ID #:             **-***8039                                                                                          Money Market Acct #:                     ******0303
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:
For Period Beginning:              2/19/2010                                                                                           Blanket bond (per case limit):           $3,000,000.00
For Period Ending:                 3/7/2017                                                                                            Separate bond (if applicable):

       1                2                                3                                                4                                                   5                       6                       7

   Transaction       Check /                           Paid to/                Description of Transaction                               Uniform            Deposit            Disbursement                 Balance
      Date            Ref. #                        Received From                                                                      Tran Code             $                     $


08/16/2011           1007      PNC Bank                                 Payment on secured lien                                         4110-000                                 $9,700,000.00             $3,028,128.57
08/17/2011           1008      State of West Virginia                   Settlement of Judgments- Kanawha Co. Magistrate Case            5800-000                                          $1,995.20        $3,026,133.37
                                                                        No. 04-M-7313 and 04-A-7314
08/18/2011           1008      VOID: State of West Virginia             Void: State of West Virginia                                    5800-003                                      ($1,995.20)          $3,028,128.57
08/19/2011           (INT)     Sterling Bank                            Interest Earned For August 2011                                 1270-000              $133.94                                      $3,028,262.51
08/19/2011                     Virginia National Bank                   Transfer Funds                                                  9999-000                                 $3,028,262.51                       $0.00

                                                                                         TOTALS:                                                        $13,650,198.58          $13,650,198.58                       $0.00
                                                                                             Less: Bank transfers/CDs                                            $7.00           $3,028,269.51
                                                                                         Subtotal                                                       $13,650,191.58          $10,621,929.07
                                                                                             Less: Payments to debtors                                           $0.00                   $0.00
                                                                                         Net                                                            $13,650,191.58          $10,621,929.07



                     For the period of 2/19/2010 to 3/7/2017                                                        For the entire history of the account between 06/20/2011 to 3/7/2017

                     Total Compensable Receipts:                     $13,594,726.90                                 Total Compensable Receipts:                               $13,594,726.90
                     Total Non-Compensable Receipts:                          $0.00                                 Total Non-Compensable Receipts:                                    $0.00
                     Total Comp/Non Comp Receipts:                   $13,594,726.90                                 Total Comp/Non Comp Receipts:                             $13,594,726.90
                     Total Internal/Transfer Receipts:                        $7.00                                 Total Internal/Transfer Receipts:                                  $7.00


                     Total Compensable Disbursements:                $10,016,464.39                                 Total Compensable Disbursements:                          $10,016,464.39
                     Total Non-Compensable Disbursements:               $550,000.00                                 Total Non-Compensable Disbursements:                         $550,000.00
                     Total Comp/Non Comp Disbursements:              $10,566,464.39                                 Total Comp/Non Comp Disbursements:                        $10,566,464.39
                     Total Internal/Transfer Disbursements:           $3,028,269.51                                 Total Internal/Transfer Disbursements:                     $3,028,269.51
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                                                                                                  FORM 2
                                         No. 1:10-bk-00303         DocCASH
                                                                       672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                             Filed 03/23/17   Entered 03/23/17 10:51:48 Page 14 of
 Case No.                         10-00303-PMF                                                                 Trustee Name:                                          Robert L. Johns
                                                                                        19
 Case Name:                       AUGUSTA APARTMENTS, LLC                                                                     Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:            **-***8039                                                                                  Checking Acct #:                        ******0036
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                          DDA
For Period Beginning:             2/19/2010                                                                                   Blanket bond (per case limit):          $3,000,000.00
For Period Ending:                3/7/2017                                                                                    Separate bond (if applicable):

       1                2                                  3                                          4                                             5                       6                     7

   Transaction       Check /                          Paid to/                Description of Transaction                       Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                       Received From                                                              Tran Code            $                     $


09/26/2012                     Virginia National Bank                 Transfer Funds                                           9999-000        $311,319.91                                       $311,319.91
10/09/2012           6001      Martin Anyieni                         Security Deposit Refund replacement of Check 1124        2410-000                                         $300.00          $311,019.91
                                                                      dated 11/8/11
11/02/2012                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                         $502.22          $310,517.69
11/09/2012           6002      Estate of Augusta Apartments           transfer to city national                                9999-000                                     $275,000.00           $35,517.69
11/19/2012            (12)     Todd Griesbaum                         AP case # 12-00013                                       1249-000           $2,000.00                                       $37,517.69
12/04/2012                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                         $228.47           $37,289.22
01/03/2013                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                          $60.22           $37,229.00
01/17/2013            (3)      Augusta Apartments LLC                 Balance from First United Bank Checking Account.         1129-000          $13,331.01                                       $50,560.01
02/04/2013                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                          $69.81           $50,490.20
02/11/2013           6003      K&D Mini Storage                       Monthly storage-February 2013                            2990-000                                          $70.00           $50,420.20
03/04/2013                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                          $73.59           $50,346.61
03/05/2013           6004      K&D Mini Storage                       Monthly storage-February 2013                            2990-000                                          $70.00           $50,276.61
03/13/2013           6005      Insurance Partners Agency, INC         invoice #87337 policy# 8215-38-71                        2300-000                                         $310.06           $49,966.55
03/19/2013            (13)     Robert O Lampl                         Return per order (Doc. No. 518) unapproved portion of    1249-000          $17,325.00                                       $67,291.55
                                                                      fees received by Robert O. Lampl
04/02/2013                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                          $91.86           $67,199.69
04/02/2013           6006      K&D Mini Storage                       Monthly storage-April 2013                               2990-000                                          $70.00           $67,129.69
05/01/2013           6007      K&D Mini Storage                       Monthly storage-April 2013                               2990-000                                          $70.00           $67,059.69
05/02/2013                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                         $104.88           $66,954.81
06/04/2013                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                         $108.09           $66,846.72
06/11/2013           6008      K&D Mini Storage                       Monthly storage-June 2013                                2990-000                                          $70.00           $66,776.72
07/01/2013           6009      K&D Mini Storage                       Monthly storage-July 2013                                2990-000                                          $70.00           $66,706.72
07/18/2013                     Pinnacle Bank                          Bank Fee for June, 2013                                  2600-000                                         $104.38           $66,602.34
07/20/2013           6010      Est of Augusta Apartments              transfer to city national                                9999-000                                      $60,000.00               $6,602.34
08/01/2013           6011      K&D Mini Storage                       Monthly storage-July 2013                                2990-000                                          $70.00               $6,532.34
08/02/2013                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                          $82.63               $6,449.71
09/04/2013                     Pinnacle Bank                          Pinnacle Analysis                                        2600-000                                          $10.43               $6,439.28

                                                                                                                              SUBTOTALS          $343,975.92            $337,536.64
                                                                                                                                                          Page No: 6                   Exhibit 9
                                                                                                 FORM 2
                                         No. 1:10-bk-00303          DocCASH
                                                                        672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                              Filed 03/23/17   Entered 03/23/17 10:51:48 Page 15 of
 Case No.                          10-00303-PMF                                                                 Trustee Name:                                    Robert L. Johns
                                                                                         19
 Case Name:                        AUGUSTA APARTMENTS, LLC                                                               Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***8039                                                                            Checking Acct #:                        ******0036
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                          DDA
For Period Beginning:              2/19/2010                                                                             Blanket bond (per case limit):          $3,000,000.00
For Period Ending:                 3/7/2017                                                                              Separate bond (if applicable):

       1                2                                3                                              4                                      5                       6                       7

   Transaction       Check /                           Paid to/                 Description of Transaction                Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                        Received From                                                        Tran Code            $                     $


09/04/2013           6012      K&D Mini Storage                        Monthly storage-Sept 2013                          2990-000                                           $70.00                $6,369.28
10/02/2013                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                            $9.98                $6,359.30
10/10/2013           6013      K&D Mini Storage                        Monthly storage-October 2013                       2990-000                                           $70.00                $6,289.30
11/04/2013                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                           $10.21                $6,279.09
11/06/2013           6014      K&D Mini Storage                        Monthly storage-November 2013                      2990-000                                           $70.00                $6,209.09
11/18/2013                     Insurance Partners                      Refund                                             1121-000             $76.00                                              $6,285.09
12/03/2013                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                            $9.79                $6,275.30
12/05/2013           6015      K&D Mini Storage                        Monthly storage-December 2013                      2990-000                                           $70.00                $6,205.30
01/03/2014                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                           $10.06                $6,195.24
01/09/2014           6016      K&D Mini Storage                        Monthly storage-January 2014                       2990-000                                           $70.00                $6,125.24
02/04/2014                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                            $9.93                $6,115.31
02/04/2014           6017      K&D Mini Storage                        Monthly storage-February 2014                      2990-000                                           $70.00                $6,045.31
03/04/2014                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                            $8.85                $6,036.46
03/06/2014           6018      K&D Mini Storage                        Monthly storage-March 2014                         2990-000                                           $70.00                $5,966.46
03/19/2014           6019      Insurance Partners Agency, INC          Bond payment                                       2300-000                                          $285.01                $5,681.45
04/02/2014                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                            $9.56                $5,671.89
04/08/2014           6020      K&D Mini Storage                        Monthly storage-April 2014                         2990-000                                           $70.00                $5,601.89
05/02/2014                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                            $8.80                $5,593.09
05/05/2014           6021      K&D Mini Storage                        Monthly storage-May 2014                           2990-000                                           $70.00                $5,523.09
06/02/2014           6022      K&D Mini Storage                        Monthly storage-June 2014                          2990-000                                           $70.00                $5,453.09
06/03/2014                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                            $8.96                $5,444.13
07/02/2014                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                            $8.52                $5,435.61
07/24/2014           6023      K&D Mini Storage                        Monthly storage-July and August 2014               2990-000                                          $140.00                $5,295.61
08/04/2014                     Pinnacle Bank                           Pinnacle Analysis                                  2600-000                                            $8.75                $5,286.86
08/28/2014                     Estate of Augusta Apartments, LLC       Transfer of money from City National Bank          9999-000          $37,633.79                                         $42,920.65
08/28/2014           6024      K&D Mini Storage                        Monthly storage-September, 2014                    2990-000                                           $70.00            $42,850.65
08/28/2014           6025      Turner & Johns PLLC                     Interim Distribution per Order entered 8/7/2014    3110-000                                     $31,284.50              $11,566.15
08/28/2014           6026      Turner & Johns PLLC                     Interim Distribution per order entered 8/7/2014    3120-000                                         $6,349.29               $5,216.86
                                                                                                                         SUBTOTALS          $37,709.79                 $38,932.21
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                                                                                                  FORM 2
                                         No. 1:10-bk-00303          DocCASH
                                                                        672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                              Filed 03/23/17   Entered 03/23/17 10:51:48 Page 16 of
 Case No.                         10-00303-PMF                                                                  Trustee Name:                                           Robert L. Johns
                                                                                         19
 Case Name:                       AUGUSTA APARTMENTS, LLC                                                                       Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:            **-***8039                                                                                    Checking Acct #:                        ******0036
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                          DDA
For Period Beginning:             2/19/2010                                                                                     Blanket bond (per case limit):          $3,000,000.00
For Period Ending:                3/7/2017                                                                                      Separate bond (if applicable):

       1                2                                3                                               4                                           5                        6                       7

   Transaction       Check /                           Paid to/                Description of Transaction                        Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                        Received From                                                               Tran Code            $                     $


09/03/2014                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $8.53               $5,208.33
09/29/2014           6027      K&D Mini Storage                        Monthly storage-October, 2014                             2990-000                                            $70.00               $5,138.33
10/02/2014                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $8.14               $5,130.19
10/08/2014                     City National Bank                      Partial Interest paid in City National Acct. #....4293    1270-000            $226.94                                              $5,357.13
10/28/2014           6028      K & D Mini Storage                      Storage Fee for November 2014                             2990-000                                            $70.00               $5,287.13
11/04/2014                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $8.57               $5,278.56
12/01/2014           6029      K & D Mini Storage                      Storage Fee for December 2014                             2990-000                                            $70.00               $5,208.56
12/02/2014                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $8.26               $5,200.30
12/30/2014           6030      K & D Mini Storage                      Storage Fee for January, 2015                             2990-000                                            $70.00               $5,130.30
01/05/2015                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $8.42               $5,121.88
01/28/2015           6031      K & D Mini Storage                      Storage Fee for February, 2015                            2990-000                                            $70.00               $5,051.88
02/03/2015                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $8.29               $5,043.59
02/24/2015           6032      K & D Mini Storage                      Storage Fee for March, 2015                               2990-000                                            $70.00               $4,973.59
03/03/2015                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $7.36               $4,966.23
03/24/2015           6033      Insurance Partners Agency, INC          Bond Insurance payment for 2015                           2300-000                                          $158.35                $4,807.88
03/30/2015           6034      K & D Mini Storage                      Storage Fee for April, 2015                               2990-000                                            $70.00               $4,737.88
04/02/2015                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $8.02               $4,729.86
04/28/2015           6035      K & D Mini Storage                      Storage Fee for May, 2015                                 2990-000                                            $70.00               $4,659.86
05/04/2015                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $7.42               $4,652.44
05/27/2015           6036      K & D Mini Storage                      Storage Fee for June, 2015                                2990-000                                            $70.00               $4,582.44
06/02/2015                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $7.52               $4,574.92
06/30/2015           6037      K & D Mini Storage                      Storage Fee for July, 2015                                2990-000                                            $70.00               $4,504.92
07/02/2015                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $7.15               $4,497.77
07/29/2015           6038      K & D Mini Storage                      Storage Fee for August, 2015                              2990-000                                            $70.00               $4,427.77
08/04/2015                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $7.28               $4,420.49
08/28/2015           6039      K & D Mini Storage                      Storage Fee for September, 2015                           2990-000                                            $70.00               $4,350.49
09/02/2015                     Pinnacle Bank                           Pinnacle Analysis                                         2600-000                                             $7.15               $4,343.34
09/28/2015           6040      K & D Mini Storage                      Storage Fee for October, 2015                             2990-000                                            $70.00               $4,273.34
                                                                                                                                SUBTOTALS             $226.94                     $1,170.46
                                                                                                                                                            Page No: 8                 Exhibit 9
                                                                                                FORM 2
                                         No. 1:10-bk-00303          DocCASH
                                                                        672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                              Filed 03/23/17   Entered 03/23/17 10:51:48 Page 17 of
 Case No.                          10-00303-PMF                                                                 Trustee Name:                                      Robert L. Johns
                                                                                         19
 Case Name:                        AUGUSTA APARTMENTS, LLC                                                                 Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***8039                                                                              Checking Acct #:                        ******0036
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:                          DDA
For Period Beginning:              2/19/2010                                                                               Blanket bond (per case limit):          $3,000,000.00
For Period Ending:                 3/7/2017                                                                                Separate bond (if applicable):

       1                2                                3                                              4                                        5                       6                     7

   Transaction       Check /                           Paid to/               Description of Transaction                    Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                        Received From                                                          Tran Code            $                     $


10/02/2015                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $6.79               $4,266.55
10/27/2015           6041      K & D Mini Storage                      Storage Fee for November, 2015                       2990-000                                          $70.00               $4,196.55
11/03/2015                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $6.90               $4,189.65
11/30/2015           6042      K & D Mini Storage                      Storage Fee for December, 2015                       2990-000                                          $70.00               $4,119.65
12/02/2015                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $6.55               $4,113.10
12/28/2015           6043      K & D Mini Storage                      Storage Fee for January, 2016                        2990-000                                          $70.00               $4,043.10
01/05/2016                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $6.65               $4,036.45
01/27/2016           6044      K & D Mini Storage                      Storage Fee for February, 2016                       2990-000                                          $70.00               $3,966.45
02/02/2016                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $6.53               $3,959.92
03/01/2016           6045      K & D Mini Storage                      Storage Fee for March, 2016                          2990-000                                          $70.00               $3,889.92
03/02/2016                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $5.98               $3,883.94
03/28/2016           6046      K & D Mini Storage                      Storage Fee for April, 2016                          2990-000                                          $70.00               $3,813.94
04/04/2016                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $6.29               $3,807.65
04/08/2016           6047      Insurance Partners Agency, INC          Bond insurance payment                               2300-000                                         $235.95               $3,571.70
04/29/2016           6048      K & D Mini Storage                      Storage Fee for May, 2016                            2990-000                                          $70.00               $3,501.70
05/03/2016                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $5.74               $3,495.96
06/02/2016                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $5.65               $3,490.31
06/06/2016           6049      K & D Mini Storage                      Storage Fee for June, 2016                           2990-000                                          $70.00               $3,420.31
06/27/2016           6050      K & D Mini Storage                      Storage Fee for July, 2016                           2990-000                                          $70.00               $3,350.31
07/05/2016                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $5.39               $3,344.92
08/02/2016                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $5.41               $3,339.51
08/16/2016                     Jack D. Marko-K&D Mini Storage          Refund of monthly storage rent paid                  1290-000              $70.00                                           $3,409.51
09/02/2016                     Pinnacle Bank                           Pinnacle Analysis                                    2600-000                                           $5.44               $3,404.07
09/23/2016                     Estate of Augusta Apartments, LLC       Transfer from City National Account                     *            $300,325.22                                       $303,729.29
                                                                       Transfer from City National Account   $297,366.21    9999-000                                                          $303,729.29
                                                                                                               $2,959.01    1270-000                                                          $303,729.29
01/10/2017           6051      Robert L. Johns                         Trustee Compensation                                 2100-000                                     $20,615.39           $283,113.90
01/10/2017           6052      Robert Johns                            Trustee Expenses                                     2200-000                                         $200.00          $282,913.90

                                                                                                                           SUBTOTALS          $300,395.22                $21,754.66
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                                                                                               FORM 2
                                         No. 1:10-bk-00303         DocCASH
                                                                       672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                             Filed 03/23/17   Entered 03/23/17 10:51:48 Page 18 of
 Case No.                         10-00303-PMF                                                                 Trustee Name:                                                    Robert L. Johns
                                                                                        19
 Case Name:                       AUGUSTA APARTMENTS, LLC                                                                               Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:            **-***8039                                                                                            Checking Acct #:                        ******0036
Co-Debtor Taxpayer ID #:                                                                                                                Account Title:                          DDA
For Period Beginning:             2/19/2010                                                                                             Blanket bond (per case limit):          $3,000,000.00
For Period Ending:                3/7/2017                                                                                              Separate bond (if applicable):

       1                2                                3                                            4                                                       5                       6                     7

   Transaction       Check /                          Paid to/               Description of Transaction                                  Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                       Received From                                                                        Tran Code            $                     $


01/10/2017           6053      Turner & Johns PLLC                    final distribution on Claim #: ; Account Number: ;                 3120-000                                         $913.67          $282,000.23
01/10/2017           6054      Robert Johns                           final distribution on Claim #: ; Account Number: ;                 6101-000                                      $83,955.50          $198,044.73
01/10/2017           6055      Turner & Johns PLLC                    final distribution on Claim #: ; Account Number: ;                 3110-000                                      $25,550.00          $172,494.73
01/10/2017           6056      PNC Bank, National Association,        final distribution on Claim #: 13; Account Number: ;               4110-000                                     $172,494.73                  $0.00

                                                                                        TOTALS:                                                            $682,307.87            $682,307.87                      $0.00
                                                                                            Less: Bank transfers/CDs                                       $348,953.70            $335,000.00
                                                                                        Subtotal                                                           $333,354.17            $347,307.87
                                                                                            Less: Payments to debtors                                            $0.00                  $0.00
                                                                                        Net                                                                $333,354.17            $347,307.87



                     For the period of 2/19/2010 to 3/7/2017                                                         For the entire history of the account between 09/26/2012 to 3/7/2017

                     Total Compensable Receipts:                       $35,987.96                                    Total Compensable Receipts:                                  $35,987.96
                     Total Non-Compensable Receipts:                        $0.00                                    Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                     $35,987.96                                    Total Comp/Non Comp Receipts:                                $35,987.96
                     Total Internal/Transfer Receipts:                $646,319.91                                    Total Internal/Transfer Receipts:                           $646,319.91


                     Total Compensable Disbursements:                 $347,307.87                                    Total Compensable Disbursements:                           $347,307.87
                     Total Non-Compensable Disbursements:                   $0.00                                    Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:               $347,307.87                                    Total Comp/Non Comp Disbursements:                         $347,307.87
                     Total Internal/Transfer Disbursements:           $335,000.00                                    Total Internal/Transfer Disbursements:                     $335,000.00
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                                                                                             FORM 2
                                        No. 1:10-bk-00303         DocCASH
                                                                      672 RECEIPTS AND DISBURSEMENTS RECORD
                                                                            Filed 03/23/17   Entered 03/23/17 10:51:48 Page 19 of
Case No.                         10-00303-PMF                                                                 Trustee Name:                                         Robert L. Johns
                                                                                       19
Case Name:                       AUGUSTA APARTMENTS, LLC                                                                    Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:           **-***8039                                                                                 Checking Acct #:                        ******0036
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                          DDA
For Period Beginning:            2/19/2010                                                                                  Blanket bond (per case limit):          $3,000,000.00
For Period Ending:               3/7/2017                                                                                   Separate bond (if applicable):

      1                 2                                3                                          4                                             5                    6                      7

  Transaction        Check /                         Paid to/               Description of Transaction                       Uniform           Deposit            Disbursement             Balance
     Date             Ref. #                      Received From                                                             Tran Code            $                     $




                                                                                                                                                                            NET              ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                           NET DEPOSITS                      DISBURSE             BALANCES

                                                                                                                                         $14,271,059.11           $10,973,692.90                     $0.00




                     For the period of 2/19/2010 to 3/7/2017                                             For the entire history of the case between 07/21/2010 to 3/7/2017

                     Total Compensable Receipts:                   $16,795,824.60                        Total Compensable Receipts:                              $16,795,824.60
                     Total Non-Compensable Receipts:                        $0.00                        Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                 $16,795,824.60                        Total Comp/Non Comp Receipts:                            $16,795,824.60
                     Total Internal/Transfer Receipts:              $6,674,589.42                        Total Internal/Transfer Receipts:                         $6,674,589.42


                     Total Compensable Disbursements:              $16,245,824.60                        Total Compensable Disbursements:                         $16,245,824.60
                     Total Non-Compensable Disbursements:             $550,000.00                        Total Non-Compensable Disbursements:                        $550,000.00
                     Total Comp/Non Comp Disbursements:            $16,795,824.60                        Total Comp/Non Comp Disbursements:                       $16,795,824.60
                     Total Internal/Transfer Disbursements:         $6,674,589.42                        Total Internal/Transfer Disbursements:                    $6,674,589.42




                                                                                                                         /s/ ROBERT L. JOHNS
                                                                                                                         ROBERT L. JOHNS
